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 1                                UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                  ***
 4   NEWMARK GROUP, INC., G&E                                  Case No. 2:15-cv-00531-RFB-EJY
     ACQUISITION COMPANY, LLC, and BGC
 5   REAL ESTATE OF NEVADA, LLC,
 6                  Plaintiffs,
 7          v.                                                              ORDER

 8   AVISON YOUNG (CANADA) INC.;
     AVISON YOUNG (USA) INC.; AVISON
 9   YOUNG-NEVADA, LLC, MARK ROSE,
     THE NEVADA COMMERCIAL GROUP,
10   JOHN PINJUV, and JOSEPH KUPIEC; DOES
     1 through 5; and ROE BUSINESS ENTITIES
11   6 through 10,
12                  Defendants.
13

14          On May 5, 2020, this Court granted in part and denied in part Defendants’ Motion for Leave
15   to File Exhibits Under Seal and Redact Portions of Opposition to Plaintiffs’ Motion for Protective
16   Order. ECF No. 355. Inter alia, this Court granted Defendants’ Motion to the extent it sought to
17   maintain the redactions of portions of their Opposition to Plaintiffs’ Motion for Protective Order for
18   a period of five business days to allow Defendants to file an unredacted version of their Opposition
19   for the Court to review. Id. at 3:7–10. On May 6, 2020, Defendants filed an unredacted copy of
20   their Opposition to Plaintiffs’ Motion for Protective Order under seal. ECF No. 358.
21          Having reviewed the same,
22          IT IS HEREBY ORDERED that Defendants’ redacted Opposition to Plaintiffs’ Motion for
23   Protective Order (ECF No. 315) shall remain unsealed on the public docket.
24          IT IS FURTHER ORDERED that Defendants’ unredacted Opposition to Plaintiffs’ Motion
25   for Protective Order (ECF No. 358) shall remain sealed.
26          DATED: May 7, 2020
27
                                                   ELAYNA J. YOUCHAH
28                                                 UNITED STATES MAGISTRATE JUDGE
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